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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

                                                    :
CONSTANCE JACKSON and GWEN                          :
KASZYNSKI, individually and on behalf of all        :
others similarly situated,                          :
                                                    :
                       Plaintiffs,                  :
                                                    : Case Number: 1:19-CV-01459
               v.                                   :
                                                    :
SCHELL & KAMPETER, INC. d/b/a                       : Hon. John Z. Lee
DIAMOND PET FOODS, and DIAMOND                      :
PET FOODS INC.,                                     :
                                                    :
                       Defendants.                  :
                                                    :

                                     JOINT STATUS REPORT

       Pursuant to the parties’ Agreed Motion to Stay (Dkt. 32) and the Court’s May 14, 2019

order (Dkt. 35), the parties submit this Joint Status Report.

       1.      This is the second filed case of two overlapping actions pending in federal court

against Defendant.

       2.      The United States District Court for the Eastern District of California was the first

to acquire jurisdiction on August 28, 2018 when Classick v. Schell & Kampeter, Inc., et al.,

No. 2:18-cv-02344-JAM-AC (“Classick”) was filed. Classick encompasses the same underlying

facts, claims and the proposed nationwide class asserted in this action, as well as largely the

same law firms and lawyers representing the Plaintiffs and Defendants in this case.

       3.      On May 13, 2019, in accordance with the first-to-file doctrine and the exercise of

this Court’s inherent powers, the parties filed an Agreed Motion to Stay this matter based on the

overlapping claims in Classick and this action. Paragraph 8 of the Agreed Motion to Stay
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requested a stay of this matter until the earlier of disposition of the nationwide class claims in

Classick or February 28, 2020. See Dkt. 32.

        4.     On May 14, 2019, the Court entered an order granting the Agreed Motion to Stay.

Dkt. 35.

        5.     Following resolution of Diamond’s two motions to dismiss, Diamond filed its

answer to Mr. Classick’s third amended class action complaint on August 30, 2019. The Classick

parties are currently engaged in written discovery and document production with a proposed

deadline to file a motion for class certification on July 17, 2020.

        6.     Accordingly, to conserve the parties’ and the Court’s resources, the parties have

conferred and agree to jointly request the Court to extend the stay of this matter to October 30,

2020.

        7.     Within 14 days of either the disposition of the nationwide class claims in

Classick, or October 30, 2020, whichever comes first, the parties will file a joint status report

addressing whether this litigation should be subject to a continued stay, dismissal, or issuance of

a proposed schedule.

        8.     This request for an extension of the stay is brought in good faith and not for

purposes of undue delay or any other improper purpose.




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Dated: February 28, 2020                                  Respectfully submitted,

By: /s/ Rebecca A. Peterson                               By: /s/ Matthew C. Wolfe

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                                     CERTIFICATE OF SERVICE

       I, Matthew C. Wolfe , an attorney, hereby certify that on February 28, 2020, I caused a

true and correct copy of the foregoing JOINT STATUS REPORT to be served on counsel of

record via the Court’s ECF system pursuant to the General Order on Electronic Filing of the

United States District Court, Northern District of Illinois.



                                                   /s/ Matthew C. Wolfe
